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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           Case No. 21-cv-23443-BLOOM/Otazo-Reyes

 SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,

 v.

 SKY GROUP USA LLC;
 EFRAIN BETANCOURT, JR.;

        Defendants, and

 ANGELICA BETANCOURT;
 AND EEB CAPITAL GROUP, LLC,

       Relief Defendants.
 ________________________________/

         ORDER ON MOTION FOR ENTRY OF FINAL JUDGMENTS AGAINST
          DEFENDANTS SKY GROUP USA AND EFRAIN BETANCOURT JR.
                AND RELIEF DEFENDANT EEB CAPITAL GROUP
                 AND FOR COURT TO ESTABLISH FAIR FUND

        THIS CAUSE is before the Court upon Plaintiff’s Unopposed Motion for Entry of Final

 Judgments Against Defendants Sky Group USA and Efrain Betancourt Jr. and Relief Defendant

 EEB Capital Group and for Court to Establish Fair Fund, ECF No. [56] (“Motion”), filed on June

 27, 2022. The Court has carefully reviewed the Motion, the record in this case, and is otherwise

 fully advised.

        Accordingly, it is ORDERED AND ADJUDGED as follows:

            1. The Motion, ECF No. [56], is GRANTED.

            2. Final Judgments will be entered against Defendants Sky Group USA, LLC (“Sky

                  Group”) and Efrain Betancourt Jr. (“Betancourt”) and Relief Defendant EEB

                  Capital Group, LLC by separate orders.
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              3. A Fair Fund shall be established pursuant to Section 308(a) of the Sarbanes-Oxley

                 Act of 2002 to allow the distribution of any civil penalties paid by Sky Group and

                 Betancourt, along with any disgorgement and prejudgment interest they pay, to

                 harmed investors in Sky Group.

              4. Plaintiff’s claims shall proceed against Relief Defendant Angelica Betancourt.

        DONE AND ORDERED in Chambers at Miami, Florida, on June 27, 2022.




                                                         _________________________________
                                                         BETH BLOOM
                                                         UNITED STATES DISTRICT JUDGE
 Copies to:

 Counsel of Record




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